
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-02-355-CV

DAVID GEORGE, JR. 	APPELLANT



V.



LAURA LEIGH L. LAWLOR-GEORGE &nbsp;&nbsp;	APPELLEE

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FROM THE 211
TH
 DISTRICT 
COURT OF DENTON COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On December 18, 2002, we notified appellant that its brief had not been filed as required by T
EX.
 R. A
PP.
 P. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a), 42.3(b).

PER CURIAM 		

PANEL D:	HOLMAN, GARDNER, and WALKER, JJ.

[DELIVERED JANUARY 23, 2003]

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




